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  Attorneys for Defendant/Counter-Claimant Cathy Trading LLC

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


  INTERLINK PRODUCTS INTERNATIONAL
  INC.,

                 Plaintiff/Counter-Defendant,           Civil Action No. 2:16-cv-02153-MCA-LDW

         v.                                             DEFENDANT/COUNTER-CLAIMANT
                                                        CATHY TRADING, LLC’S NOTICE OF
 CATHY TRADING, LLC d/b/a WANTBA                        MOTION FOR LEAVE TO FILE AN
                                                        AMENDED ANSWER, AFFIRMATIVE
                 Defendant/Counter-Claimant.            DEFENSES AND COUNTERCLAIMS

                                                        MOTION RETURN DATE: May 15, 2017



         PLEASE TAKE NOTICE that on May 15, 2017 or as soon as counsel may be heard,

  the undersigned attorneys for Defendant Cathy Trading Group LLC (“Cathy Trading”) in the

  above captioned matter will move pursuant to this Court’s Opinion dated March 9, 2017, this
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  Court for an Order granting Cathy Trading leave to file its Amended Answer, Affirmative

  Defenses and Counterclaims.

         PLEASE TAKE FURTHER NOTICE that Cathy Trading shall rely upon the attached

  Brief in Support of its Motion for Leave to file an Amended Answer, Affirmative Defenses and

  Counterclaims and Certification of Christina Saveriano, Esq. with attached Exhibit containing

  Cathy Trading’s Amended Answer, Affirmative Defenses and Counterclaims.

         PLEASE TAKE FURTHER NOTICE that the proposed form of an Order is attached.



  Dated: April 10, 2017                     Respectfully Submitted,

                                            HILL WALLACK LLP

                                            By: /s/ Christina Saveriano
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                                    CERTIFICATE OF SERVICE

          This is to certify that a true and correct copy of the foregoing

          DEFENDANT/COUNTER-CLAIMANT CATHY TRADING, LLC’S
                    MOTION FOR LEAVE TO FILE AN
       AMENDED ANSWER, AFFIRMATIVE DEFENSES AND COUNTERCLAIMS

  is to be electronically filed. Notice of this filing will be sent to all parties by operation of the
  Court’s electronic filing system. Parties may access this filing through the Court’s system.




  April 10, 2017                                          /s/Christina Saveriano
  Date                                                    Christina Saveriano
